9/24/2020 Case 1:25-cv-00321-JMB-SJB       ECF
                                 Gmail - Fwd:      No.Do1-1,
                                              National         PageID.39
                                                         Not Call                   Filed 03/24/25
                                                                  Registry - Your Registration Is Confirmed             Page 1 of 1


 M Gmail                                                                                      Josh Goodrich



  Fwd: National Do Not Call Registry - Your Registration Is Confirmed
  1 message

                                                                                                              Tue, Sep 22, 2020 at 7:57 PM




    --- Forwarded message --------­
    From: <Verify@donotcall.gov>
    Date: Tue, Sep 22, 2020 at 7:56 PM
    Subject: National Do Not Call Registry - Your Registration Is Confirmed
    To:


    Thank you for registering your phone number with the National Do Not Call Registry. You successfully registered your
    phone number ending in 5526 on June 07, 2019. Most telemarketers will be required to stop calling you 31 days from
    your registration date.

    Visit https://www.donotcall.gov to register another number or file a complaint against someone violating the Registry.
    ******************************************************************************************************************************


    Please do not reply to this message as it is from an unattended mailbox. Any replies to this email will not be responded to
    or forwarded. This service is used for outgoing emails only and cannot respond to inquiries.




                                                                                                       Case
                                                                                                  1:25-cv-00321
                                                                                                 Owens v. Port City
                                                                                               Associates Group et al


                                                                                                    Exhibit
                                                                                                      1
